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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH

 

THE SCO GROUP, INC.
Plaintiff/Counterclatm-Defendant,
ve

INTERNATIONAL BUSINESS
MACHINES CORPORATION,

Defendant/Counterclaim-Plaintiff.

 

CERTIFICATE OF SERVICE

Case No. 2:03CV0294DAK

Honorable Dale A. Kimball
Magistrate Judge Brooke C, Wells

 

 
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I hereby certify that true and correct copies of the foregoing:

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SCO’s Objections and Responses to IBM’s Second Set of Requests for Admissions.
SCO’s Objections and Responses to IBM’s Third Set of Requests for Admissions.
SCO’s Objections and Responses to IBM’s Fourth Set of Requests for Admissions.
SCO’s Objections and Responses to IBM’s Fifth Set of Requests for Admissions.
SCO’s Objections and Responses to IBM’s Sixth Set of Requests for Admissions.
SCO’s Objections and Responses to IBM’s Seventh Set of Requests for Admissions.
SCO’s Objections and Responses to IBM’s Eighth Set of Requests for Admissions.
SCO’s Objections and Responses to IBM’s Ninth Set of Requests for Admissions.

SCO’s Objections and Responses to IBM’s Tenth Set of Requests for Admissions.

10. SCO’s Objections and Responses to IBM’s Eleventh Set of Requests for Admissions.

11. SCO’s Objections and Responses to IBM’s Twelfth Set of Requests for Admissions.

were served on Defendant/Counterclaim-Plaintiff, International Business Machines

Corporation, on this 8th day of June 2007, via U.S. mail to the following:

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